           Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 1 of 18




1                                                          The Honorable John H. Chun

2

3

4

5

6                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
7                                     AT SEATTLE

8
                                                Case No. 2:23-cv-0932-JHC
9    FEDERAL TRADE COMMISSION,
                                                PLAINTIFF’S MOTION TO
10            Plaintiff,                        COMPEL PRODUCTION OF
                                                DOCUMENTS CLAWED BACK
11       v.                                     DURING INVESTIGATION

12   AMAZON.COM, INC., et al.                   FILED UNDER SEAL

13            Defendants.                       NOTE ON MOTION CALENDAR:
                                                Friday, February 9, 2024
14

15

16

17

18

19

20

21

22

23

     PLAINTIFF’S MOTION TO COMPEL                                Federal Trade Commission
     CLAWED BACK DOCUMENTS                                    600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC                                      Washington, DC 20580
                                                                            (202) 326-3320
               Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 2 of 18




1                                                       TABLE OF CONTENTS

2
     BACKGROUND ............................................................................................................................ 1
3              A.         Amazon’s Efforts to Shield “Sensitive” Communications Regarding Prime
                          Enrollment and Cancellation................................................................................... 1
4              B.         The May 4, 2021 Memo and May 6, 2021 Meeting ............................................... 2
5              C.         Amazon’s Belated, Double Clawback of IC-37 ..................................................... 4
               D.         The July 14, 2021 Memo and Presentation ............................................................. 5
6
               E.         The Remaining Clawed Back Documents .............................................................. 6
7              F.         The FTC’s Document Request and the Parties’ Meet-and-Confer ......................... 7
     ARGUMENT .................................................................................................................................. 7
8
     I.        THE CLAWED BACK DOCUMENTS WERE NEVER PRIVILEGED OR
9              PROTECTED WORK PRODUCT..................................................................................... 7
               A.         The Clawed Back Documents Are Not Attorney-Client Privileged. ...................... 7
10
                          1.         The May 4 Memo Is a Business Document. ............................................... 8
11                        2.         Amazon Cannot Redact from IC-37 Determinations Made at the May 6
                                     Meeting. ...................................................................................................... 8
12
                          3.         The July 14 Memo and Presentation Are Business Documents. ................ 9
13                        4.         The Remaining Clawed Back Documents Likely Are Not Privileged. ...... 9
               B.         The May 4 Memo Is Not Attorney Work Product. ............................................... 10
14
               C.         At a Minimum, In Camera Review Is Appropriate. ............................................. 10
15   II.       AMAZON WAIVED ANY PRIVILEGE CLAIMS THAT MIGHT ONCE HAVE
               APPLIED. ......................................................................................................................... 11
16
               A.         Amazon’s Prior Productions Were Intentional. .................................................... 11
17             B.         Amazon Did Not Take Reasonable Steps to Prevent Production of the July 14
                          Memo or IC-37. .................................................................................................... 13
18
               C.         Amazon Did Not Act “Promptly” to Remedy Its Purportedly Inadvertent
19                        Productions. .......................................................................................................... 13
     CONCLUSION ............................................................................................................................. 15
20

21

22

23

     PLAINTIFF’S MOTION TO COMPEL                                                                                 Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                                                     600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - i                                                                                   Washington, DC 20580
                                                                                                                             (202) 326-3320
            Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 3 of 18




1
            The FTC files this Motion to compel Defendant Amazon to produce 17 documents (the
2    “Clawed Back Documents”) first clawed back by Amazon during the FTC’s investigation and
3    then withheld as privileged in response to an FTC document request. The Clawed Back

4    Documents primarily consist of two memoranda and one presentation prepared by Amazon for

5    meetings at which Amazon employees and executives discussed the “clarity” of, and potential

     changes to, the Prime enrollment and cancellation flows. The evidence, however, establishes
6
     that these are business, not legal, documents, and that Amazon’s privilege assertions are a mere
7
     extension of its years-long effort to manufacture privilege claims over clarity-related documents.
8
     Further, Amazon produced the Clawed Back Documents multiple times in this and other FTC
9    investigations, before clawing them back and claiming inadvertence. Because the documents
10   were never privileged, and, in any event, Amazon’s prior productions waived any privilege

11   claim, Amazon must produce them.

12                                            BACKGROUND
            A.      Amazon’s Efforts to Shield “Sensitive” Communications Regarding Prime
13                  Enrollment and Cancellation
14          Within Amazon, the “clarity” of Prime’s enrollment and cancellation flows is a “P&C

15   [privileged and confidential] topic” (Ex. A at 134), regardless of whether clarity-related

     communications actually contain privileged information. As one employee explained, she and
16
     others “were told to start marking things ‘privileged and confidential’” if they related to the
17
     “clarity” of the Prime enrollment and cancellation flows. Dkt. #90-2 at 241, 244. Another
18
     employee confirmed that he and his colleagues took all clarity-related communications
19   “seriously” “by marking them P&C.” Dkt. #90-2 at 215. “Prime leadership,” in particular,
20   expected clarity-related documents and emails to be marked “P&C” (Ex. A at 36-37) and for

21   related discussions to include attorneys, regardless of whether the attorney was expected to

22   provide legal advice. For example, in October 2020, an Amazon employee circulated a clarity-

     related document to 13 non-attorneys. Dkt. #90-2 at 193-94; Ex. A ¶ 11. Amazon’s Director of
23
     Prime Member Growth replied, added an attorney to the email chain, and wrote nothing other
     PLAINTIFF’S MOTION TO COMPEL                                                 Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                     600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 1                                                   Washington, DC 20580
                                                                                             (202) 326-3320
             Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 4 of 18




1
     than “+ Susan [the attorney], making P&C, seeking legal guidance. Team, let’s please keep
2    Clarity communications as P&C. thx.” Dkt. #90-2 at 193; Ex. A ¶ 11. Amazon’s efforts to
3    shield damaging, but nonprivileged, documents continued throughout the FTC’s investigation

4    and into this litigation.
             B.      The May 4, 2021 Memo and May 6, 2021 Meeting
5
             Two of the Clawed Back Documents (IC-1 and IC-36; the “May 4 Memo”) relate to a
6
     May 6, 2021 clarity-related meeting. The lead-up to that meeting started in September 2020,
7
     when Amazon made certain clarity improvements to its “UPDP” enrollment page. Ex. A at 110-
8    112. Defendant Jamil Ghani later described these changes as “near the ‘minimum bar’ of what

9    we wanted to improve.” Dkt. #90-2 at 219.

10
                                                        Ex. A at 86. As a result, Amazon reversed the
11
     improvements. Id. at 128.
12
             Following that reversal, Amazon’s Prime team scheduled a meeting to “align on
13
     approach for clarity”—i.e., to make a business decision—with several Amazon leaders. Id. at
14   131. The meeting was with Amazon’s “C-Team,” which consisted of “top SVP[s], CEO level,
15   key leaders”—i.e., “a lot of the bigwigs” or the “top of the top.” Ex A. at 115-16, 151. As is

16   typical of Amazon meetings, a group of employees prepared a memorandum for the meeting. Id.

17   at 129. The C-Team meeting ultimately was scheduled for May 6, 2021. Dkt. #52 ¶ 12. On

     April 28, one week before the meeting, one Amazon user experience researcher referred to the
18
     memorandum as “the most important [document] I have ever been involved with at Amazon.”
19
     Ex. A at 114. Over the prior three-plus months, the document had been through “multiple
20
     reviews” with Defendants Ghani and Lindsay. Id. at 95-96. In March 2021, as Amazon
21   prepared for the meeting, the FTC sent a CID initiating the investigation that led to this case.
22           According to Amazon, two in-house attorneys at some point “substantially revised the

23   [memorandum] . . . to incorporate [their] legal advice.” Dkt. #52 ¶ 13. Given that Amazon

     PLAINTIFF’S MOTION TO COMPEL                                                 Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                     600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 2                                                   Washington, DC 20580
                                                                                             (202) 326-3320
             Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 5 of 18




1
     produced a fully unredacted version of the memorandum dated April 29, 2021 (Ex. A ¶ 5), it
2    appears the attorney revisions occurred between that date and the May 6 Meeting. Indeed, one
3    Amazon employee involved in the memo’s drafting confirmed the legal team “took over the

4    document” at the “final hour.” Ex. A at 124. Although Amazon now claims the resulting May 4

     Memo is attorney work product, Amazon has never asserted it anticipated litigation with the FTC
5
     as of May 2021.
6
             Around the same time, the Prime team, according to Amazon, “revised the purpose of the
7
     May 6 Meeting to focus primarily on legal considerations involving the Prime sign-up and
8
     cancellation processes.” Dkt. #52 ¶ 13. Whatever legal advice was provided at the meeting, it is
9    undisputed that the meeting resulted in business decisions, as was the intent all along.

10   Specifically, Amazon decided to change the Prime enrollment and cancellation flows, including

11   by moving Prime’s “price and auto renew [terms] . . . to . . . primary body content [on enrollment

     pages], not just in fine print.” Ex. A at 154; see also Dkt. #90-2 at 138-40, 149, 161-62.
12
             Ultimately, in separate FTC investigations, Amazon twice produced two different copies
13
     of the May 4 Memo (IC-11 and IC-36) with privilege redactions (Dkt. #52 ¶¶ 15-16; Dkt. #90-2
14
     at 28 (¶¶ 14-15), 326, 329)—apparently to redact whatever legal advice counsel had inserted in
15   the “final hour,” while (presumably) leaving unredacted non-attorney contributions and any
16   attorney revisions not containing legal advice. The FTC used IC-1 at the December 2, 2022

17   investigational hearing (an administrative deposition) of Defendant Russell Grandinetti. Dkt.

18   #90-2 at 285. None of the four Amazon attorneys present at the hearing raised a privilege

     objection. Id. at 285-87. Those attorneys took a copy of the memo with them after the hearing,
19
     and had access to an electronic copy of the exhibit. Id. at 301 (counsel took exhibit copies), 279
20
     (email attaching May 4 Memo). For the ensuing six weeks, not one of Amazon’s 30-plus
21
     attorneys (id. at 28) asserted a privilege or work product claim as to the May 4 Memo.
22
     1
      “IC” numbers refer to the in camera document set described at Dkt. #90-2 at 326-32. The FTC provided the Court
23   copies of the in camera exhibits (Dkt. #7). See also Unnumbered Oct. 24, 2023 Docket Entry (clerk’s receipt of in
     camera documents).
     PLAINTIFF’S MOTION TO COMPEL                                                          Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                              600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 3                                                             Washington, DC 20580
                                                                                                       (202) 326-3320
             Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 6 of 18




1
             On January 11, 2023, the FTC marked the same copy of the May 4 Memo as an exhibit at
2    another investigational hearing. Id. at 30. This time, Amazon objected. Specifically, Amazon’s
3    counsel, undeterred by his four colleagues’ silence during the December 2 hearing (not to

4    mention his and his 30-plus colleagues’ silence in the 40 intervening days), deemed it

     “extraordinary” and “so troubling” the FTC would use the four-times-produced and already-
5
     privilege-redacted document. Id. at 162-64. Two days later, Amazon formally clawed back both
6
     copies of the May 4 Memo. Id. at 31.
7
             C.       Amazon’s Belated, Double Clawback of IC-37
8            A third Clawed Back Document, IC-37, relates to determinations Amazon made at the

9    May 6 meeting. Amazon first clawed back IC-37 on February 7, 2023 and produced a

10   replacement version, with privilege redactions, on February 14, 2023. Ex. A ¶ 12. The FTC’s

     Motion to Desequester (Dkt. #4) challenged the redactions in this document. In response,
11
     Amazon apparently re-reviewed the document and then described it in a declaration from in-
12
     house counsel. Dkt. #52 ¶ 25. At no time did Amazon claim it had spotted any additional
13
     privileged information that remained unredacted in IC-37.
14           During the parties’ meet-and-confers, the FTC agreed to drop its challenge to Amazon’s
15   initial clawback of IC-37. Instead, the FTC focused on approximately 25 documents in which,

16   unlike IC-37, Amazon claimed it redacted “determinations made during the May 6 Meeting as

17   the result of legal advice discussed during that meeting.” Ex. A at 52. The FTC explained that

     Amazon’s determinations (particularly about how to change its public-facing enrollment or
18
     cancellation flows) could not be privileged, even if Amazon considered legal advice in making
19
     the determinations.2 Id. Amazon agreed to remove certain redactions from these documents,
20
     and the FTC decided not to seek the compelled removal of additional redactions.
21

22

23   2
      Confusingly, Amazon responded that its redactions actually related to the “timing of advice provided by legal
     counsel.” Ex. A at 59. The timing of legal advice plainly is not privileged.
     PLAINTIFF’S MOTION TO COMPEL                                                            Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                                600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 4                                                              Washington, DC 20580
                                                                                                        (202) 326-3320
              Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 7 of 18




1
              Last Wednesday, January 17, pursuant to the Court’s Protective Order (Dkt. #124) and
2    Local Rule 5(g), the FTC informed Amazon it would file IC-37 with this Motion to Compel. Ex.
3    A at 76 (referencing IC-37 by its Bates number: Amazon-FTC-CID_09389533). During a

4    January 22 meet-and-confer, Amazon requested the FTC stipulate to IC-37 being filed under seal

     (which the FTC did), but did not identify any privilege concerns. Then, at approximately 10:00
5
     pm Eastern on the night of January 22, Amazon stated it was again clawing back IC-37. Ex. A
6
     at 81. At the same time, Amazon also provided a new (third) version of IC-37, with additional
7
     redactions. Id. The FTC is sequestering the second version of IC-37 and therefore cannot
8
     compare it to the third version (which is Ex. A at 144-47). From context, however, it appears
9    Amazon, in the third version, added redactions to conceal determinations made at the May 6

10   Meeting,

11
                           Ex. A at 80, 144. Amazon has refused to (1) confirm it added these redactions
12
     on January 22, (2) identify any other redactions it added on January 22, or (3) state the basis for
13
     any of its new redactions.3 Id. at 79-80.
14
              D.       The July 14, 2021 Memo and Presentation
15            Eleven other Clawed Back Documents (IC-4, IC-5, IC-6, IC-17, IC-18, IC-19, IC-20, IC-

16   21, IC-22, IC-31, and IC-48) relate to a July 14, 2021 meeting, at which the “Prime team”

17   discussed the status of clarity changes it decided to implement at the May 6 meeting. Dkt. #52

     ¶ 18. Amazon employees prepared two documents for the meeting—a memorandum (the “July
18
     14 Memo”) and a “presentation” (the “July 14 Presentation”). Ex. A ¶ 6; Dkt. #52 ¶¶ 17-23.
19
     Though Amazon has refused to identify the documents’ author(s), the memorandum and
20
     presentation apparently were prepared by non-attorneys. Ex A ¶¶ 8, 24. The July 14 meeting’s
21   purpose was “to get alignment and timing of changes we have already agreed on.” Ex. A at 140.
22
     3
       Amazon justified its failure to explain the basis for its privilege claim by stating the parties have not agreed to a
23   privilege log protocol for documents produced in this case. That does not relieve Amazon of its burden to explain
     the basis for its privilege claim in response to this Motion.
     PLAINTIFF’S MOTION TO COMPEL                                                                   Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                                      600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 5                                                                      Washington, DC 20580
                                                                                                                (202) 326-3320
             Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 8 of 18




1
     In advance of the meeting, an Amazon non-attorney sent the memorandum and presentation to
2    28 non-attorneys and two attorneys. Ex. A ¶ 18. Amazon has stated the documents describe
3    “specific changes that the Prime team was contemplating.” Dkt. #52 ¶ 19. Twenty meeting

4    invitees were non-attorneys and two were attorneys. Ex. A ¶ 18.

             Amazon produced five copies of the July 14 Presentation, all without redactions and all
5
     in this investigation. Ex. A ¶ 6. Amazon also repeatedly produced the July 14 Memo across
6
     multiple investigations. In the investigation leading to this case, Amazon produced one copy of
7
     the memo without redactions (IC-6) and two copies with redactions (IC-17, IC-22). Amazon
8
     initially fully withheld a fourth copy of the memo (IC-4), before expressly telling the FTC that
9    copy was only “partially privileged” and that Amazon was therefore producing a redacted

10   version, as part of a production of just six documents. Dkt. #90-2 at 277. In other FTC

11   investigations, Amazon produced one copy of the memo without redactions (IC-31) and one

     copy with redactions (IC-48). Dkt. #90-2 at 34.
12
             On January 20, 2023, the FTC marked an unredacted version of the July 14 Memo (IC-
13
     31) at an investigational hearing.4 Dkt. #90-2 at 33, 321. At that hearing, Amazon’s counsel
14
     declared the memo an “inadvertent production” and “privileged.” Id. at 321. Eighteen days
15   later, Amazon clawed back the remaining five copies of the memo, including the version it
16   declared only partially privileged just a month earlier. Id. at 33-34. At the same time, Amazon

17   clawed back all five copies of the July 14 Presentation. Id. at 326-27 (February 7 clawback date

18   for IC-5, IC-18, IC-19, IC-20, and IC-21).
             E.       The Remaining Clawed Back Documents
19
             The FTC also seeks to compel the production of three other Clawed Back Documents:
20
     IC-9, IC-27, and IC-40. IC-9 is a chat thread between two Amazon non-attorneys in which the
21   FTC located three messages that appeared to reveal privileged information, and promptly
22   informed Amazon of that fact. Dkt. #90-2 at 247. Amazon responded by clawing back those

23   4
      At the time it marked this unredacted exhibit, FTC counsel was unaware Amazon had redacted, as partially
     privileged, other copies of the July 14 Memo.
     PLAINTIFF’S MOTION TO COMPEL                                                         Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                            600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 6                                                           Washington, DC 20580
                                                                                                      (202) 326-3320
            Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 9 of 18




1
     three messages and 10 others in the same document. Ex. A ¶ 7. IC-27 and IC-40 are documents
2    the FTC used at investigational hearings and Amazon waited weeks to claw back. Dkt. #90-2 at
3    35 (IC-40); Ex. A ¶¶ 9-10 (IC-27). These documents are discussed in more detail infra pp. 9-11.

4           F.      The FTC’s Document Request and the Parties’ Meet-and-Confer
            With its Complaint, the FTC filed a motion (Dkt. #4) challenging Amazon’s clawbacks
5
     of 54 documents during the FTC’s investigation, including the 17 documents at issue here. The
6
     Court denied that motion without prejudice, granting the FTC leave to seek the documents in
7
     discovery. Dkt. #89. The FTC sent Amazon a document request asking it to produce the 54
8    clawed back documents. Ex. A at 70. In response, Amazon withheld all 54 documents as

9    privileged. Id. The parties met and conferred and were able to narrow their dispute to the 17

10   Clawed Back Documents described above.
                                               ARGUMENT
11
            As the party asserting the attorney-client privilege and work product doctrine to withhold
12
     the Clawed Back Documents, Amazon has the burden of proving they apply. See, e.g., Weil v.
13   Investment/Indicators, Research and Mgmt., Inc., 647 F.2d 18, 25 (9th Cir. 1981). Similarly,
14   Amazon bears the burden of proving it did not waive privilege. Id. Amazon cannot meet its

15   burden because (1) the Clawed Back Documents were never privileged and (2) Amazon waived

16   any privilege by repeatedly producing the documents.
     I.     THE CLAWED BACK DOCUMENTS WERE NEVER PRIVILEGED OR
17          PROTECTED WORK PRODUCT.

18          Amazon has asserted that all of the Clawed Back Documents are attorney-client

     privileged and that the May 4 Memo is also protected work product. Because the Clawed Back
19
     Documents are business, rather than legal, documents, Amazon’s arguments fail. At a minimum,
20
     in camera review is appropriate.
21
            A.      The Clawed Back Documents Are Not Attorney-Client Privileged.
22          The attorney-client privilege protects documents where their “primary purpose” is “to

23   give or receive legal advice, as opposed to business . . . advice.” In re Grand Jury, 23 F.4th

     PLAINTIFF’S MOTION TO COMPEL                                                Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                    600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 7                                                  Washington, DC 20580
                                                                                            (202) 326-3320
             Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 10 of 18




1
     1088, 1091 (9th Cir. 2021), certiorari dismissed as improvidently granted, 143 S. Ct. 543. The
2    Ninth Circuit adopted this “primary purpose” test to address exactly the situation here, where a
3    company “add[s] layers of lawyers to every business decision in hopes of insulating [it] from

4    scrutiny in any future litigation.” Id. at 1093-94. The Clawed Back Documents all fail this test.
                       1.        The May 4 Memo Is a Business Document.
5
              Amazon indisputably started drafting the May 4 Memo in January 2021 for a purely
6
     business purpose: to resolve longstanding issues surrounding the “clarity” of Prime enrollment
7    and cancellation. See supra pp. 2-4. Amazon’s in-house lawyers apparently “took over” the
8    document at the end of April or beginning of May. See supra pp. 2-3. Whatever changes those

9    attorneys made,5 Amazon has never claimed the May 4 Memo’s primary purpose was to convey

10   legal advice, but rather only that it “incorporates” such advice. Dkt. #52 ¶ 13. Even if portions

     of the memorandum conveyed legal advice, Amazon apparently redacted those portions before
11
     producing the document in other investigations.6 Then, at the May 6 meeting, Amazon made
12
     business decisions to change its enrollment and cancellation flows. See supra pp. 2-3. These
13
     facts make clear the primary purpose of the May 4 Memo was not to provide legal advice. If
14   anything, Amazon’s conduct follows its familiar pattern of using attorneys to shield potentially
15   damaging documents.

16                     2.        Amazon Cannot Redact from IC-37 Determinations Made at the May
                                 6 Meeting.
17            Three nights ago, Amazon apparently redacted from IC-37 information regarding

18   determinations made at the May 6, 2021 meeting. See supra pp. 4-5. Amazon’s

19   “determinations” are not privileged, even if legal advice provided in advance of making those

     determinations is privileged. A Northern District of California court explained this same point:
20
     5
21     The FTC has attached an April 29, 2021 version of the May 4 Memo (before apparent attorney involvement), so
     that the Court, if it chooses, can compare the document to IC-1 and IC-36 (which purportedly include attorney
     revisions). See Ex. A at 15-32. Because the FTC has sequestered IC-1 and IC-36, it cannot conduct this
22   comparison.
     6
       It is, of course, possible, if not likely, that attorneys made other edits unrelated to legal advice. See, e.g., Chandola
23   v. Seattle Housing Auth., 2014 WL 5023518, at *1 (W.D. Wash. Oct. 7, 2014) (“[E]xtra scrutiny is required where
     in-house counsel is involved, as in-house counsel often act in both a legal and non-legal business capacity.”).
     PLAINTIFF’S MOTION TO COMPEL                                                                     Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                                        600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 8                                                                       Washington, DC 20580
                                                                                                                 (202) 326-3320
           Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 11 of 18




1           The more difficult question is whether, when read in context, Mr. LaBerge’s further
            statement (“[Redacted]”) reveals a privileged communication. Apple insists that it
2           reveals counsel’s legal advice. . . . Plaintiffs argue that it discloses only Apple’s
            decision about how to handle keyboard issues as a fact in the world, and not any
3           advice of counsel. . . . The Court agrees with plaintiffs that, standing alone, the fact
            that Apple determined [Redacted] is not privileged, even if that decision was
4           informed by advice from legal counsel. The privilege protects only
            communications, not facts.
5
     In re MacBook Keyboard Litig., 2020 WL 1265629, at *3 (N.D. Cal. Mar. 17, 2020) (alterations
6    original; emphasis added). The same is true here. The fact that Amazon made certain
7    determinations about its user flows is a fact that, standing alone, says nothing about what legal

8    advice Amazon received.
                    3.      The July 14 Memo and Presentation Are Business Documents.
9
            The July 14 Memo and Presentation (see supra pp. 5-6) were drafted by non-attorneys,
10
     sent to 28 non-attorneys and 2 attorneys, and reviewed at a meeting attended by 20 non-attorneys
11   and 2 attorneys. The documents address a business issue—“specific changes that the Prime team
12   was contemplating”—and the purpose of the meeting was “to get alignment and timing of

13   changes we have already agreed on.” Dkt. #52 ¶ 19; Ex. A at 140. Tellingly, Amazon has been

14   careful to avoid representing that the documents’, or the July 14 meeting’s, primary purpose was

     to provide or request legal advice. In Amazon counsel’s declaration, for example, he claimed the
15
     May 6 Meeting “primarily” focused on legal considerations, but for the July 14 Meeting, said
16
     only that he attended in order to provide legal advice. Dkt. #52 ¶¶ 13, 18.
17                  4.      The Remaining Clawed Back Documents Likely Are Not Privileged.
18          IC-9, IC-27, and IC-40 are also likely not privileged. For the reasons explained infra p.

19   11, it is likely that Amazon’s redactions to IC-9 and IC-27 do not protect privileged information,

     and the FTC therefore respectfully requests the Court conduct an in camera review. For IC-40,
20
     Amazon has not met its burden of establishing the privilege. Rather, Amazon has stated that (1)
21
     Dharmesh Mehta (an Amazon executive) used the document to prepare for Congressional
22
     testimony and (2) an attorney helped prepare the document, which “reflects” the attorney’s “legal
23
     judgment and analysis.” Dkt. #52 ¶¶ 43-44. But the fact that a finished document “reflects,” or
     PLAINTIFF’S MOTION TO COMPEL                                                  Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                      600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 9                                                    Washington, DC 20580
                                                                                              (202) 326-3320
           Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 12 of 18




1
     incorporates, attorney input does not make the document itself a privileged communication. See,
2    e.g., Hart v. TWC Prod. & Tech. LLC, 2022 WL 1529407, at *2 (N.D. Cal. Apr. 11, 2022) (fact
3    that a policy “may have been developed with input from attorneys does not make emails

4    reflecting what the policy actually is privileged”).
            B.      The May 4 Memo Is Not Attorney Work Product.
5
            Amazon also asserts the May 4 Memo is attorney work product. To support this claim,
6
     Amazon must establish the memo was prepared “in anticipation of litigation,” which means the
7    document must have been “created because of anticipated litigation, and would not have been
8    created in substantially similar form but for the prospect of that litigation.” In re: Grand Jury

9    Subpoena (Mark Torf/Torf Env. Mgmt.), 357 F.3d 900, 907-08 (9th Cir. 2004) (citation omitted).

10   “When there is a true independent purpose for creating a document, work product protection is

     less likely . . . .” Id. at 908. Additionally, “[m]ore than the mere possibility of litigation must be
11
     evident” to support a work product claim. Heath v. F/V Zolotoi, 221 F.R.D. 545, 549 (W.D.
12
     Wash. 2004) (citation omitted).
13
            For at least two reasons, Amazon cannot establish the May 4 Memo is attorney work
14   product. First, there was clearly an independent business purpose for creating the memorandum:
15   to resolve a long-running dispute about how to “clarify” Prime’s enrollment and cancellation

16   flows. See supra pp. 2-4. Second, Amazon has not claimed it actually anticipated litigation in

     May 2021, and, in fact, pointedly avoiding making that claim, instead submitting a declaration
17
     stating it “understood that the March CID indicated that the FTC was contemplating bringing a
18
     lawsuit.” Dkt. #52 ¶ 13. This is exactly the speculative “mere possibility” of litigation
19
     insufficient to support a work product claim. Heath, 221 F.R.D. at 549.
20          C.      At a Minimum, In Camera Review Is Appropriate.
21          To justify in camera review, the FTC need only establish a good faith belief that in

22   camera review “may reveal . . . that information in the materials is not privileged.” In re Grand

     Jury Investigation, 974 F.2d 1068, 1075 (9th Cir. 1992) (emphasis added). Thus, the threshold
23

     PLAINTIFF’S MOTION TO COMPEL                                                  Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                      600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 10                                                   Washington, DC 20580
                                                                                              (202) 326-3320
            Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 13 of 18




1
     showing required to justify in camera review is “not high.” L.D. v. United Behavioral Health,
2    2022 WL 3139520, at *11 (N.D. Cal. Aug. 5, 2022). The FTC easily clears this bar because, for
3    the reasons explained above, the May 4 Memo, July 14 Memo and Presentation, IC-37, and IC-

4    40 likely are not privileged.

             The FTC also has reason to believe parts of IC-9 and IC-27 are not privileged.
5
     Specifically, the FTC identified three potentially privileged messages in IC-9, but Amazon
6
     insists an additional 10 messages are privileged. Ex. A ¶ 7. For IC-27, Amazon appears to have
7
     redacted multiple descriptions of “Phase 1” of a “workstream” related to its cancellation flow.
8
     Id. at 63, 66. It is unlikely that a description of work Amazon planned to conduct could be
9    privileged. This is especially true here, where six Amazon attorneys at an investigational hearing

10   did not raise a privilege objection to the document. Ex. A ¶ 19.
     II.     AMAZON WAIVED ANY PRIVILEGE CLAIMS THAT MIGHT ONCE HAVE
11
             APPLIED.
12           Because Amazon previously produced each of the Clawed Back Documents, Amazon can

13   only avoid a finding of waiver if (1) its prior productions were “inadvertent”; (2) it took

14   “reasonable steps to prevent” the productions; and (3) it “promptly took reasonable steps to

     rectify” the purportedly inadvertent productions. Fed. R. Evid. 502(b).7 Amazon bears the
15
     burden of establishing each element. See, e.g., Callan v. Christian Audigier, Inc., 263 F.R.D.
16
     564, 566 & n.3 (C.D. Cal. 2009) (citation omitted) (adopting “standard practice” of placing
17
     burden on party seeking to prevent waiver). For each Clawed Back Document, Amazon cannot
18   meet its burden for at least one element.
19           A.       Amazon’s Prior Productions Were Intentional.
             A production is “inadvertent” if, inter alia, it was a “mistake” rather than intentional.
20
     See, e.g., Multiquip, Inc. v. Water Mgmt. Sys. LLC, 2009 WL 4261214, at *4 (D. Idaho Nov. 23,
21
     2009). Therefore, a party that produces the same document multiple times generally cannot
22
     7
       All of the Clawed Back Documents were produced prior to the start of this case. Therefore, Rule 502(b) applies,
23   rather than the Court’s Rule 502(d) Order, which applies only to documents produced “in this proceeding.” Dkt.
     #123 at 1.
     PLAINTIFF’S MOTION TO COMPEL                                                            Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                               600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 11                                                              Washington, DC 20580
                                                                                                         (202) 326-3320
            Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 14 of 18




1
     establish inadvertence. See, e.g., T&W Holding Co., LLC v. City of Kemah, 2022 WL 16948565,
2    at *4 (S.D. Tex. Nov. 15, 2022) (party’s repeated production of a document “indicat[es] that the
3    production was not an isolated mistake”); United States v. Citgo Petro. Corp., 2007 WL

4    1125792, at *5 (S.D. Tex. Apr. 16, 2007) (production not inadvertent where party had “twice

     disclosed the privilege[d] documents in different forms at different times”). Additionally, a
5
     party’s having produced a document with redactions is evidence of an intentional production.
6
     See, e.g., ePlus Inc. v. Lawson Software, Inc., 280 F.R.D. 247, 255 (E.D. Va. 2012) (rejecting
7
     clawback attempt in part because document “was produced in redacted form, indicating that, in
8
     fact, it had been reviewed by [the party] before production”).
9            Here, Amazon produced the May 4 Memo four times (all with redactions), the July 14

10   Memo six times (three with redactions), and the July 14 presentation five times.8 See supra pp.

11   3, 6. It makes no sense that Amazon would make the exact same privilege “mistake” multiple

     times for each document (not to mention, for the May 4 Memo, yet again at and after the
12
     December 2 investigational hearing, when none of Amazon’s attorneys declared the document
13
     privileged). This is particularly true of the May 4 Memo and July 14 Memo, which Amazon
14
     produced in an investigation where it claims to have “reviewed and assessed” “each part” of each
15   produced document, “often more than once.” Dkt. # 90-2 at 54; see also id. at 55 (Amazon
16   stating it also reviewed “any other available context” to make privilege determinations).

17   Additionally, at the time of production, Amazon expressly told the FTC one version of the July

18   14 Memo was only partially privileged. Dkt. #90-2 at 277.

             Finally, for IC-37, Amazon cannot prove inadvertence because it intentionally produced
19
     the document with privilege redactions after clawing it back for the first time. See supra pp. 4-5.
20

21

22
     8
       For purposes of this Motion, the FTC does not dispute Amazon’s claim that it produced IC-9, IC-27, and IC-40
23   inadvertently.

     PLAINTIFF’S MOTION TO COMPEL                                                           Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                               600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 12                                                            Washington, DC 20580
                                                                                                       (202) 326-3320
           Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 15 of 18




1           B.      Amazon Did Not Take Reasonable Steps to Prevent Production of the July 14
                    Memo or IC-37.
2
            To establish the requisite “reasonable steps” to prevent disclosure of privileged
3    documents, a party must explain its privilege review “methodology.” Williams v. District of
4    Columbia, 806 F. Supp. 2d 44, 49 (D.D.C. 2011) (citation omitted). Disclosure of a document as

5    part of a “relatively de minimis production” weighs in favor of waiver. Id. at 50. Amazon

     produced the July 14 Memo as part of a set of just six documents it determined to be
6
     nonprivileged or only partially privileged. Similarly, Amazon produced IC-37 as part of a
7
     limited production of documents it had previously clawed back. It is inconceivable that, if these
8
     documents were actually privileged, Amazon took reasonable steps to avoid producing them but
9
     still did so as part of these de minimis productions.
10          C.      Amazon Did Not Act “Promptly” to Remedy Its Purportedly Inadvertent
                    Productions.
11
            Even if Amazon could prove inadvertence and reasonable precautions, it cannot prove it
12
     acted “promptly” to correct its inadvertent productions, because it decidedly did not. See Fed. R.
13   Evid. 502(b). “Numerous courts have held that once a party realizes a document has been

14   accidentally produced, it must assert privilege with virtual immediacy.” Ecological Rts. Found.

15   v. FEMA, 2017 WL 24859, at *7 (N.D. Cal. Jan. 3, 2017) (cleaned up) (emphasis added); see

     also Skansgaard v. Bank of Am., N.A., 2013 WL 828210, at *3 (W.D. Wash. Mar. 6, 2013)
16
     (“[C]law back requests should be made immediately, with delays of even a few weeks
17
     determined to be too long . . . .”). Therefore, where a privileged document is used at a
18
     deposition, the privilege is waived if “the privilege holder fails to object immediately.” Luna
19   Gaming-San Diego, LLC v. Dorsey & Whitney, LLP, 2010 WL 275083, at *5 (S.D. Cal. Jan. 13,
20   2010) (collecting cases) (emphasis added); Mycone Dental Supply Co. v. Creative Nail Design

21   Inc., 2013 WL 4758053, at *3 (N.D. Cal. Sept. 4, 2013) (producing party “should have recalled

22   the document that was used in the deposition immediately after the deposition”).

23

     PLAINTIFF’S MOTION TO COMPEL                                                Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                    600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 13                                                 Washington, DC 20580
                                                                                            (202) 326-3320
            Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 16 of 18




1
             Here, Amazon cannot establish promptness because it repeatedly failed to claw back
2    documents when or immediately after they (or closely related documents) were used at
3    investigational hearings.9 For the May 4 Memo, Amazon did not claw back the document until

4    40 days after its use at an investigational hearing. Dkt. #90-2 at 30-31. Similarly, Amazon

     waited 49 days to clawback IC-40 after its use at a hearing. Id. at 35. Amazon also dragged its
5
     feet in clawing back the July 14 Memo and Presentation. After objecting to the FTC’s use of one
6
     version of the July 14 Memo at a January 20 investigational hearing, Amazon waited 18 days to
7
     claw back five other copies (and the accompanying five July 14 presentations) and, even then,
8
     only did so after prompting by the FTC. Id. at 33-34; see Xu v. FibroGen, Inc., 2023 WL
9    3475722, at *6 (N.D. Cal. May 15, 2023) (finding waiver based on 11-day delay). Finally, the

10   FTC marked IC-27 as an investigational hearing exhibit on January 17, 2023 and directed the

11   witness to a paragraph labeled “CX Satisfaction Cancel.” Ex. A ¶¶ 9-10. Amazon, however,

     waited another 21 days to claw back the document, ultimately reproducing it with redactions to
12
     the exact paragraph referenced at the hearing. Id.
13
             For IC-37, Amazon plainly cannot establish promptness. At the latest, Amazon should
14
     have recognized its purportedly inadvertent February 2023 production of privileged information
15   in July 2023, when Amazon reviewed IC-37 to respond to the FTC’s Motion to Desequester.
16   Amazon had another chance to remedy its “error” when it conducted a review of its redactions to

17   “harmonize” them in December 2023. Ex. A at 44. Amazon had a third opportunity when it

18   reviewed IC-37 in advance of the parties’ January 22 meet-and-confer. Rather than act promptly,

     Amazon waited until almost the last possible moment before the FTC filed IC-37 to claw it back.
19

20

21
     9
22     Amazon previously has argued that the FTC “agreed it would not assert that the use of documenting during
     [investigational hearing] testimony constituted a privilege waiver.” Dkt. #50 at 19. The FTC, however, is not
     arguing Amazon waived privilege by permitting the FTC to ask questions about the Clawed Back Documents.
23   Rather, Amazon’s waiver results from its failure to promptly claw back the documents during or immediately after
     the investigational hearings, when Amazon should have learned of the purportedly inadvertent productions.
     PLAINTIFF’S MOTION TO COMPEL                                                              Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                                 600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 14                                                               Washington, DC 20580
                                                                                                          (202) 326-3320
           Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 17 of 18




1                                            CONCLUSION
            For the foregoing reasons, the FTC respectfully requests the Court enter the attached
2
     Order compelling production of the Clawed Back Documents.
3

4                             LOCAL RULE 37(a)(1) CERTIFICATION

5           I certify that counsel for the FTC has in good faith conferred with counsel for Defendant

     Amazon in an effort to resolve this dispute without court action. Counsel for the parties met and
6
     conferred by phone on October 30, 2023, with the following attorneys present: Evan Mendelson
7
     (FTC), Olivia Jerjian (FTC), Thomas Maxwell Nardini (FTC), Laura Flahive Wu (Amazon),
8
     Kevin Kelly (Amazon), Marc Capuano (Amazon), and Zaria Noble (Amazon). Counsel also
9
     exchanged written correspondence relating to this dispute on October 24, 2023; November 17,
10   2023; November 20, 2023; December 1, 2023; December 5, 2023; December 22, 2023; January

11   5, 2024; January 22, 2024; and January 23, 2024.

12
                                LOCAL RULE 7(e) CERTIFICATION
13          I certify that this memorandum contains 5,117 words, in compliance with the Court’s
14   January 23, 2024 Order (Dkt. #135).

15

16

17

18

19

20

21

22

23

     PLAINTIFF’S MOTION TO COMPEL                                              Federal Trade Commission
     CLAWED BACK DOCUMENTS                                                  600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 15                                               Washington, DC 20580
                                                                                          (202) 326-3320
           Case 2:23-cv-00932-JHC Document 140-1 Filed 01/25/24 Page 18 of 18




1    Dated: January 25, 2024             /s/ Evan Mendelson
                                         EVAN MENDELSON (D.C. Bar #996765)
2                                        OLIVIA JERJIAN (D.C. Bar #1034299)
                                         THOMAS MAXWELL NARDINI
3                                        (IL Bar #6330190)
                                         Federal Trade Commission
4                                        600 Pennsylvania Avenue NW
                                         Washington DC 20580
5                                        (202) 326-3320; emendelson@ftc.gov (Mendelson)
                                         (202) 326-2749; ojerjian@ftc.gov (Jerjian)
6                                        (202) 326-2812; tnardini@ftc.gov (Nardini)

7                                        COLIN D. A. MACDONALD (WSBA # 55243)
                                         Federal Trade Commission
8                                        915 Second Ave., Suite 2896
                                         Seattle, WA 98174
9                                        (206) 220-4474; cmacdonald@ftc.gov (MacDonald)

10                                       Attorneys for Plaintiff
                                         FEDERAL TRADE COMMISSION
11

12

13

14

15

16

17

18

19

20

21

22

23

     PLAINTIFF’S MOTION TO COMPEL                                  Federal Trade Commission
     CLAWED BACK DOCUMENTS                                      600 Pennsylvania Avenue NW
     Case No. 2:23-cv-0932-JHC - 16                                   Washington, DC 20580
                                                                              (202) 326-3320
